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Extra online article

This article should be read after: » We still have the power to beat Bush

The imperialist origins of the US - Roxanne Dunbar-Ortiz
By Roxanne Dunbar-Ortiz

GEORGE BUSH won re-election by proving himself 4 militarist and imperialist that
make the “founding fathers” proud.

The majority of the US voting population is white and descendant of the old settle
both the wealthy white, Anglo-Saxon protestants such as the Bush family, and the
numerous Scots-Irish “frontier” settlers—foot soldiers of the US empire—who corr
majority of the southern states’ populations. I was born of and raised in the latter
rural Oklahoma,

The US left, historically and at the present, ddnies and rationalises the facts of the
in order to continue the myth that the US is a benign democracy, viewing obvious
contradictions as anomalies.

The left refuses to recognise that the overseas imperialism that became evident ir
war with Spain was only a further manifestation of the continental imperialism agi
nations and peoples now known as Native Americans begun with this country’s foi
soon followed by the annexation of half of Mexico.

We on the US left are stuck. We are stuck in d false past, and therefore are confu:
present. We can’t move forward. We tell others and ourselves lies, often claiming
necessary in order to “win” people over,

There is a “left” and a “right” interpretation of the lie of US origins. No social or pe
vision, realistic or otherwise, no ordering of priorities can be conjured until we rea
this is serious business, this lie, and no good gan come of it.

Let’s take the first and second Gulf wars. Most of my left comrades named and na
the objective. I argue that these are “Indian wars”, a renewal of the birth of the n
imperialism and genocide,

The Second Armored Cavalry Regiment (ACR) iis a self-contained elite army unit tl
know as having been at the head of Patton’s Third Army when it crossed Europe c
Second World War.

In the first Gulf war, at that farcical stage called “the ground war”, the Second AC
tanks into Iraq.

A retired commander of the ACR proudly told his TV interviewer that the unit was
the 1830s to fight the Seminoles and was responsible for finally defeating them in
Everglades in 1836, in the third US war against the Seminoles over nearly two de

The first two wars were led by General Andrew Jackson, the third was under Jack:
commander in chief, elected president largely due to his role in those wars. Scon
five largest Native nations of the Southeast wére forcibly expelled and driven to Ir
territory or Oklahoma.

Again in the second Gulf war, the Second ACR led the invasion of Iraq, this time, °
waiting orders on the Kuwait border, painting themselves and doing “Indian dance
“war whoops”, as observed by an Associated Press reporter,

The US left needs to develop some curiosity. vho were the Seminoles and why ar
three wars, given so little attention in US history texts, so important to the militar

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day? Why is the term “Indian Country” still used by the military to refer to enemy

How and why did the US military become the largest military machine in human h
larger and more deadly than all other militaries in human history combined?

Why does the US fight only “foreign wars”? Why are those wars so effective in bin
citizens? Why do we use the terms, “America” and *Americans”, to refer to the US
citizens, much to the ire of all the other countties of the hemisphere and the Carit

If we as the US left are not about dismantling ithe empire, which will require dismi
seats of power, and if we can’t stop claiming to be “the real patriots”, we will stay
irrelevant.

Roxanne Dunbar-Ortiz is a historian, writer atid activist. She is the author most r
Red Dirt: Growing Up Okie. Her book on Ronald Reagan’s Contra war against Nic.
appear in 2005.

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